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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

RAUL RICARDO TERAN, et al.,

Defendants.                                                No. 07-30136-DRH

                                      ORDER

HERNDON, Chief Judge:

              Before the Court is a motion for continuance filed by Raul Ricardo

Teran (Doc. 456). Defendant Teran requests that the trial setting of March 22, 2010

be continued as he is currently negotiating with the Government which both sides

anticipate will lead to a plea but because of the extensive discovery in this case the

parties have not been able to finalize negotiations before the set trial date. The

Government does not object to the motion. Defendant Sellers also has no objection

to the continuance. The Court, being fully advised in the premises, finds that the

trial should be continued in order to allow Defendant additional time in which to

conclude plea negotiations with the Government.

              The Court GRANTS Defendant Teran’s motion for continuance (Doc.

456). The Court CONTINUES the trial scheduled for March 22, 2010 until June 1,

2010. The continuance of trial applies to all non-moving Defendants as well. United

States v. Baker, 40 F.3d 154, 159 (7th Cir. 1994) (“‘Under § 3161(h)(7), the

excludable delay of one defendant may be ascribed to all defendants in the same
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case, absent severance.’”) (quoting United States v. Tanner, 941 F.2d 574, 580

(7th Cir. 1991), cert. denied, 502 U.S. 1102, 112 S. Ct. 1190, 117 L.Ed. 2d.

432 (1992)).

             In continuing the trial, the Court notes that one of the co-defendants

Jesus Manuel Saavedra, remains a fugitive. Saavedra is still at large and has not yet

been arraigned. Further, no motion for severance of the remaining defendants has

been filed or granted in this case, meaning all Defendants adhere to the same Speedy

Trial Act count. Therefore, in actuality and the state of the law is that the Speedy

Trial “clock” does not begin to run until the last co-defendant is arraigned. In this

case, as there is one fugitive, the 70-day window for conducting this trial has not yet

come into play under the Speedy Trial Act. See United States v. Larson, 417 F.3d

741, 745 n.1 (7th Cir. 2005) (“In the typical joint trial, the Speedy Trial clock

begins when the last co-defendant is arraigned.”) (citing United States v.

Baskin-Bey, 45 F.3d 200, 203 (7th Cir. 1995)); Henderson v. United States,

476 U.S. 321, 323 n.2 (1986); 18 U.S.C. § 3161(h)(6)); United States v.

Souffront, 338 F.3d 809, 835 (7th Cir. 2003) (The Court found that the

seventy-day clock commenced the day a fugitive-also the final co-defendant in

the case- was arraigned). Since the Speedy Trial clock has not begun to run, there

is no need to account for exclude time due to trial delays, such as when a trial is

continued.

             However, in the alternative to finding that the Speedy Trial clock has yet


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to commence, the Court finds that the reasons stated in the motion to continue

justify reasons for granting a continuance and excluding time under Speedy Trial Act.

The Court finds that pursuant to 18 U.S.C. § 3161(h)(7)(A), the ends of justice

served by the granting of such a continuance outweigh the best interest of the public

and all Defendants in a speedy trial. To force a Defendant to trial on a case that

appears to have a great potential to resolve amicably would constitute a miscarriage

of justice. Therefore, the Court alternatively finds reasons for granting a continuance

as sought in the motion (Doc. 456). The Court hereby CONTINUES the trial as to

all Defendants scheduled for March 22, 2010 until June 1, 2010 at 9:00 a.m.

The time from the date the motion was filed, February 26, 2010, until the date on

which the trial is rescheduled, June 1, 2010, is excludable for purposes of a speedy

trial.

             Should either party believe that a witness will be required to travel on

the Justice Prisoner and Alien Transportation System (JPATS) in order to testify at

the trial of this case, a writ should be requested at least two months in advance.



             IT IS SO ORDERED.

             Signed this 1st day of March, 2010.



                                               /s/ DavidRHer|do|
                                              Chief Judge
                                              United States District Court



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